Case 1:18-cv-01805-.]GK Document 27 Filed 03/13/18 Page 1 of 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MERCER HEALTH & BENEFITS LLC,
Plaintiff,
Case No.:
-against-
DECLARATION OF JOANNA
MATTHEW DIGREGORIO, JOANNE STEED, MARINI
JADA PRESTON and LOCKTON COMPANIES,
LLC,
Defendants.

 

 

JOANNA MARINI, declares pursuant to 28 U.S.C. § 1746 and subject to the penalties
of perjury that the following is true and correct:

l. I am a Principal at Mereer Health & Benet`its LLC (“l\/lercer”). Except where
otherwise stated, l make this declaration based on my personal knowledge

2. l joined Mercer in February 2009 as a Senior Consultant. ln March 2014, l was
promoted to Principal.

3. As a Principal at Mercer, I am responsible for managing client relationships and
ensuring client retention by evaluating client risks and developing solutions to address client
needs. l serve as primary client contact for day-to~day client needs and client questions

4. I work closely with Sales Professionals7 like Matthew DiGregorio
(“DiGregorio”), who are responsible for generating new client business and growing business
with existing clients

5. On or about January l7, 2018, l learned that DiGregorio and two other employees

resigned their positions at Mercer to begin working at Lockton Companies.

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Case 1:18-cv-01805-.]GK Document 27 Filed 03/13/18 Page 2 of 8

6. At the time l learned about DiGregorio’s departure and the departure of two other
colleagues l was with a client assisting the client with their annual open enrollment process The
client, “Client A,” is a Florida based corporation which owns and operates laser eye surgery
centers throughout the country.

7. Mercer has provided health and benefits solutions to Client A, since August 2017.
I met Client A’s current Chief Financial Ofiicer while he was an employee of another client of
mine. Client A became a Mercer client based on my prior relationship with the CFO.

8. Although DiGregorio has done work with Client A, I did not immediately notify
Client A of DiGregorio’s departure because l am the relationship manager for the client and
would continue to be, even after DiGregorio’s departure

9. During the Week of January 22, ZOlS, while l was assisting the client with its
annual open enrollment process, Client A’s Vice President for Human Resources mentioned to
me that DiGregorio called him on or about January l9th. l learned that DiGregorio told the Vice
President for Human Resources that he resigned his position at Mercer and accepted a position at

Lockton.

Financial Gi`ticer of “Client B,” a nationwide steel fabricator based in Florida that has had a
client relationship With Mercer since 2010. Copies of the emails are collectively attached at
Exhibit G.

ll. In the first email, Mr. Bums forwarded to me an email he received from
DiGregorio’s Lockton email address, entitled “Announcement” in which DiGregorio wrote, in
part: “I wanted to formally announce that l have taken on a new role with the largest private held

property, casualty, and employee benefits broker in the country Lockton Companies as a Senior

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Case 1:18-cv-Ol805-.]GK Document 27 Filed 03/13/18 Page 3 of 8

Vice Present out of our Miramar, FL office. Please see below and attached for my new contact
information I look forward to connecting With you in the near future and have a wonderful day!”
See Exhibit G.

12. Mr. Burns wrote to me, in his first email: “So l guess Matthew left and took my
email address with [him].” See Exhibit G.

13. Mr. Burns also forwarded me a second email that he received from DiGregorio’s
Lockton email address, thirty-four minutes after he received the first email. The second email
contained the same “Announcement” as the first email. See Exhibit G.

Dated: February 26, 2018
Sunrise, Florida

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Jbanna Marini

 

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Case 1:18-cv-Ol805-.]GK Document 27 Filed 03/13/18 Page 4 of 8

EXHIBIT G

Case 1:18-cv-Ol805-.]GK Document 27 Filed 03/13/18 Page 5 of 8

Clark, Shawn Nlatthew

 

 

m m
From: Tim Burns <TBurns@sfab.com>
Sent: Wednesday, February 07, 2018 11126 Al\/l
To: l\/larini, loanna
Subject: FVV: Announcement
Attachments: l\/latthew DiGregorio.vcf

50 l guess l\/latthew left and took my email address with.

From: "DiGregorio, l\/latt" <§::i§§reeez§o@§oc§§tee,eorn>
Date: Wednesday, February 7, 2018 at 10:4»13r Al\/l

To: "DiGregorio, l\/latt" <§¥§D§Greeo§'§ef§ioc§<ton,eoez>
Subject: Announcement

* §ate§r:ai arnett §§dr§ress*

Hello,

l hope this message finds you wellt

I wanted to formally announce that l have taken on a new role with the largest privately held property, casualty, and
employee benefits broker in the country Locl<ton Companies as a Senior Vice President out of our Miramar, FL

office. Please see below and attached for my new contact information l look forward to connecting with you in the near
future and have a wonderful day!

Best Regards,

l\/latt D.

 

Matthew D§Gregorie
Sen§or Vice Presidenr

Lockton Cornpanies
{Southeast Series)

    

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Senior Vice President

    

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Case 1:18-cv-Ol805-.]GK Document 27 Filed 03/13/18 Page 6 of 8

irs WORK ++

 
   

Case 1:18-cv-01805-.]GK Document 27 Filed 03/13/18 Page 7 of 8

Clark, Shawn Matthew

 

_ - _
From: Tim Burns <TBurns@sfab.com>
Sent: Wednesday, February 07, 2018 11:26 Al\/l
To: l\/larini, loanna
Subject: FW: Announcement
Attachments: l\/latthew DiGregorio.vcf

and because he is proud of his move he has sent me the same email twice.

From: "DiGregorio, l\/latt“ <e§€§§i§re ior§o!§§§o<:§<ten,corn>
Date: Wednesday, February 7, 2018 at 11:18 Al\/l

To: "DiGregorio, l\/latt" <§sr§§§§re orie€e§oc§@:ten,corn>
Subject: Announcement

 

 

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Hello,

I hope this message finds you well.

I wanted to formally announce thatl have taken on a new role with the largest privately held property, casualty, and
employee benefits broker in the country, l_ockton Companies, as a Senior Vice President out of our Miramar, Fl_

office. Please see below and attached for my new contact information l look forward to connecting with you in the near
future and have a wonderfui dayi

Best Regarcis,

l\/latt D.

 

Matthew DiGregerio
Senior Vice Pres§dent
Lockton Companies
(Southeast Series)

 

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Case 1:18-cv-01805-.]GK Document 27 Filed 03/13/18 Page 8 of 8

 

